      Case: 4:06-cr-00124-GHD-JMV Doc #: 150 Filed: 10/02/07 1 of 1 PageID #: 905




                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                DELTA DIVISION

UNITED STATES OF AMERICA,

VS.                                           CRIMINAL ACTION NO. 4:06CR124-P-B

CHARLES BARRETT MERRILL,
WILBUR TYRONE PEER,
ERWIN DAVID RABHAN,
JIMMY WINEMILLER, AND
WILLIAM MITCHELL WINEMILLER,                                                 DEFENDANTS.

                                             ORDER


        This matter comes before the court upon counsel for Defendant Charles Barrett Merrill’s

Response to the Court’s Order of September 25, 2007 and Request for Change of Trial Date [146].

After due consideration of the request, the court finds that it should be denied.

        IT IS THEREFORE ORDERED AND ADJUDGED that Defendant Charles Barrett

Merrill’s Response to the Court’s Order of September 25, 2007 and Request for Change of Trial

Date [146] is DENIED.

        SO ORDERED this the 2nd day of October, A.D., 2007.


                                                      /s/ W. Allen Pepper, Jr.
                                                      W. ALLEN PEPPER, JR.
                                                      UNITED STATES DISTRICT JUDGE
